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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY

 JOHNNIE SIMS-MADISON,                             :
                                                   :
                    Plaintiff,                     :   Case No. 4:20-CV-00071-JHM
                                                   :
             vs.                                   :
                                                   :
 DANA COMMERCIAL VEHICLE                           :
 MANUFACTURING, LLC,                               :
                                                   :
                    and                            :
                                                   :
 UNITED STEEL WORKERS OF                           :
 AMERICA LOCAL 9443-2                              :
                                                   :
                    Defendants.                    :


                                   JOINT NOTICE OF REMOVAL

        Defendants Dana Commercial Vehicle Manufacturing, LLC (“Dana”) and United Steel

Workers of America Local 9443-2 (the “USW”) (collectively, “Defendants), under 28 U.S.C.

§§ 1441 and 1446, notice the removal of an action from the Daviess County Circuit Court to this

Court for trial and determination. As grounds for this removal, Defendants state as follows:

        1.         Plaintiff Johnnie Sims-Madison (“Plaintiff”), initiated this action on April 21,

2020, by filing a Complaint captioned Johnnie Sims-Madison v. Dana Commercial Vehicle

Manufacturing, LLC and United Steel Workers of America Local 9443-2, Case No. 20-CI-00413

(the “Complaint”), in the Commonwealth of Kentucky, Daviess Circuit Court (the “Action”).

Dana and USW have received the Complaint.

        2.         True and accurate copies of the state court docket sheet, all pleadings, motions,

and orders, and all other filings in the Action, are attached hereto as Exhibit A.




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        3.     The United States District Court has original jurisdiction of this Action under 28

U.S.C. § 1332, and it may be removed to this Court under 28 U.S.C. § 1441 by reason of

diversity of citizenship between the parties because the parties are citizens of different states and

the amount in controversy, exclusive of interests and costs, exceeds $75,000.

        4.     The Complaint alleges that Plaintiff is a resident of Evansville, Indiana.

(Complaint, ¶ 2) Plaintiff is a citizen of Indiana for diversity purposes.

        5.     The Complaint alleges Dana is a private corporation located in Daviess County,

Kentucky. (Complaint, ¶ 3) Dana is, in fact, an Ohio limited liability company with its principal

place of business in Henderson County, Kentucky. Dana is a citizen of Kentucky for diversity

purposes.

        6.     The Complaint alleges the USW is a labor union located in Daviess County,

Kentucky. (Complaint, ¶ 4) The USW is a citizen of Kentucky for diversity purposes.

        7.     Because Plaintiff and Defendants are citizens of different states, this removal

meets the complete diversity of citizenship requirement for federal jurisdiction.

        8.     Plaintiff was employed by Dana until February 6, 2019. (Complaint, ¶ 21).

        9.     Plaintiff alleges that Dana and the USW subjected her to different treatment and

unlawfully terminated her in violation of the Kentucky Civil Rights Act and Kentucky Revised

Statute § 344.060. (Complaint, ¶¶ 28 and 33)

        10.    Plaintiff demands “[a]ll wages, benefits, compensation, and other monetary loss

suffered as a result of Defendants’ unlawful actions,” and “[c]ompensation for any and all other

damages,” “[c]ompensatory damages,” “[c]osts and attorney’s fees,” and “pre- and post-

judgment interest.” (Complaint, § V). Therefore, this removal meets the amount in controversy

requirement for federal jurisdiction.



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        11.    The Western District of Kentucky is the judicial district embracing the place

where the state court case was brought and is pending (see 28 U.S.C. § 97(b)); it is the proper

district court to which this case should be removed. See 28 U.S.C. § 1446(a).

        12.    Under 28 U.S.C. § 1446(b), this removal is timely because not more than 30 days

have elapsed since Plaintiff served Defendants with the summons and complaint.

        13.    Written notice of the filing of this notice of removal of civil action will be

provided to Plaintiff.

        14.    A true and accurate copy of this notice of removal of civil action will be filed with

the Clerk of the Daviess County Circuit Court.



Respectfully submitted,


/s/ Alton D. Priddy (with consent)            /s/ Brian G. Dershaw
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                               CERTIFICATE OF SERVICE
        I hereby certify that on May 7, 2020, a copy of the foregoing Joint Notice of Removal

was filed electronically and a copy has been served upon the following counsel of record by

email addressed as follows:

                              Devan A. Dannelly
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                                           /s/ Brian G. Dershaw
                                           Brian G. Dershaw




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